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United States Bankruptcy Court
District of Colorado

ln re 11380 SM|TH RD LLC Case No.

 

Debtor(s) Chapter 1 1

LIST OF EQUITY SECURITY l-IOLDERS

Following is the list of the Debtor's equity security holders which is prepared in accordance with rule lOO?(a)(S) for filing in this Chapter ll Case

 

Name and last known address or place of Security Class Number of Securities Kind of Interest
business of holder

Louis Hard 100% Manager.‘Member

7585 S. Blscay Street
Aurora, 00 80016

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PAR'I'NERSI'IIP

l, the Managerm‘lember of the corporation named as the debtor in this case, declare under penalty of perjury that l
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.

Date Fabruary13. 2018 Signature let Louis l-lard
Louls Hard

Penm'lyfar making afa!.s'e statement ofconc'eal':'rrgproperry: Fine of up to $50'0,000 or imprisonment for up lo 5 years or both.
ls u.s.c. §§ 152 and 3571.

Sheet l of l in List of Equity Security Holders
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